     Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 1 of 29



          IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                )
MAINE COMMUNITY HEALTH OPTIONS, )
                                )
                Plaintiff,      )
                                )       Case No. 17-2057C
     v.                         )       Chief Judge Margaret M. Sweeney
                                )
                                )
THE UNITED STATES OF AMERICA,   )
                                )
                Defendant.      )
                                )




PLAINTIFF’S REPLY IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
     AND OPPOSITION TO DEFENDANT’S CROSS-MOTION TO DISMISS
            Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 2 of 29



                                                    TABLE OF CONTENTS

I.        THE EXISTENCE OF A STATUTORY PAYMENT OBLIGATION
          UNDER SECTION 1402 IS A SEPARATE QUESTION FROM THE
          QUESTION OF WHETHER AN APPROPRIATION HAS BEEN MADE. .....................6 

II.       THE GOVERNMENT OFFERS NO VIABLE BASIS TO DISREGARD
          THE PLAIN LANGUAGE OF SECTION 1402, CREATING AN
          OBLIGATION, BASED ON CONGRESS’S MERE LACK OF
          APPROPRIATED FUNDS................................................................................................10 

          A.         Congress Did Not Pass Any CSR Appropriation Riders, so the
                     Government’s Reliance on Moda’s Discussion of Appropriation
                     Riders and Legislative “Intent” Is Misplaced. .......................................................10 

          B.         The Government’s Various Theories for Equating the Absence of an
                     Appropriation With the Absence of a Payment Obligation Are Without
                     Merit. ......................................................................................................................11 

                     1.         The comparison between Sections 1401 and 1402 does not
                                address the issues here. ............................................................................. 12 

                     2.         The Government’s “increasing premiums” theory is erroneous. .............. 14 

          C.         Recovery of Amounts Due From the Government’s Failure to Make
                     CSR Payments Are Actionable in the Court of Federal Claims. ...........................15 

III.      THE GOVERNMENT IS LIABLE FOR BREACH OF AN IMPLIED-IN-
          FACT CONTRACT. ..........................................................................................................18 

CONCLUSION ..............................................................................................................................23 




                                                                       ii
            Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 3 of 29



                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

Agwiak v. United States,
   347 F.3d 1375 (Fed. Cir. 2003)................................................................................................17

Baker v. United States,
   50 Fed. Cl. 483 (2001) .............................................................................................................19

Bowen v. Massachusetts,
   487 U.S. 879 (1988) ...........................................................................................................17, 18

Cal. Fed. Bank, FSB v. United States,
   245 F.3d 1342 (Fed. Cir. 2001)................................................................................................21

Collins v. United States,
   15 Ct. Cl. 22 (1879) ...................................................................................................................7

Durant v. United States,
   16 Cl. Ct. 447 (1988) ...............................................................................................................22

Eastport S. S. Corp. v. United States,
   372 F.2d 1002, 1009 (1967).....................................................................................................17

Ferris v. United States,
   27 Ct. Cl. 542 (1892) .................................................................................................................7

Fisher v. United States,
   402 F.3d 1167 (Fed. Cir. 2005)......................................................................................5, 16, 17

Gibney v. United States,
   114 Ct. Cl. 38 (1949) ...............................................................................................................14

Greenlee Cty., Ariz. v. United States,
   487 F.3d 871 (Fed. Cir. 2007)............................................................................................16, 17

Hanlin v. United States,
   316 F.3d 1325 (Fed. Cir. 2003)................................................................................................19

Indian Harbor Ins. Co. v. United States,
    704 F.3d 949 (Fed. Cir. 2013)....................................................................................................6

Jan’s Helicopter Serv., Inc. v. F.A.A.,
   525 F.3d 1299 (Fed. Cir. 2008)................................................................................................17



                                                                    iii
            Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 4 of 29



Lamie v. United States Tr.,
   540 U.S. 526 (2004) ...................................................................................................................9

Lummi Tribe of the Lummi Reservation v. United States,
   99 Fed. Cl. 584 (2011) .............................................................................................................16

Metro. Area Transit, Inc. v. Nicholson,
   463 F.3d 1256 (Fed. Cir. 2006)................................................................................................20

Moda Health Plan, Inc. v. United States,
  892 F.3d 1311 (Fed. Cir. 2018)........................................................................................ passim

Montana Health Co-Op v. United States,
  No. 18-143C, 2018 WL 4203938 (Fed. Cl. Sept. 4, 2018) .............................................. passim

Molina Healthcare of Cal., Inc. v. United States,
   133 Fed. Cl. 14 (2017) .............................................................................................................22

Prairie Cty., Mont. v. United States,
   113 Fed. Cl. 194 (2013) .............................................................................................................6

Radium Mines, Inc. v. United States,
   153 F. Supp. 403 (Ct. Cl. 1957) ...............................................................................................19

Ransom v. FIA Card Servs., N.A.,
   562 U.S. 61 (2011) .....................................................................................................................9

Schism v. United States,
   316 F.3d 1259 (Fed. Cir. 2002) (en banc)................................................................................22

Suburban Mortg. Assoc., Inc. v. HUD,
   480 F.3d 1116 (Fed. Cir. 2007)................................................................................................18

United States v. Langston,
   118 U.S. 389 (1886) ...............................................................................................................7, 8

United States v. Mottaz,
   476 U.S. 834 (1986) ........................................................................................................... 17-18

United States v. Testan,
   424 U.S. 392 (1976) .................................................................................................................17

United States v. White Mountain Apache Tribe,
   537 U.S. 465 (2003) .............................................................................................................5, 16

Wolfchild v. United States,
   96 Fed. Cl. 302 (2010), rev’d in part 731 F.3d 1280 (Fed. Cir. 2013) ....................................16



                                                                    iv
            Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 5 of 29



Statutes

26 U.S.C. § 36B .............................................................................................................................12

28 U.S.C. 1491 ...............................................................................................................................16

31 U.S.C. § 1324 ............................................................................................................................12

42 U.S.C. § 18071 ..............................................................................................................3, 6, 9, 12

Rules and Regulations

48 C.F.R. § 1.601(a).......................................................................................................................20

Other Authorities

Defs.’ Mem. ISO Mot. for Summ. J., House v. Burwell, Case No. 1:14-cv-01967-
   RMC, Dkt. No. 55-1 (D.D.C. filed Dec. 2, 2015)....................................................................18




                                                                       v
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 6 of 29



       Plaintiff Maine Community Health Options (“Health Options”) respectfully submits this

Reply in support of its Motion for Summary Judgment and Opposition to Defendant’s Cross-

Motion to Dismiss. For the reasons set forth in Plaintiff’s Complaint and its Motion for

Summary Judgment (Pl. Br.), Plaintiff Health Options is seeking relief in this Court because of

the Government’s refusal to honor the statutory requirement to reimburse certain cost-sharing

reductions (CSR) that Health Options provided to its insureds under the Affordable Care Act

(ACA). After making the required CSR payments to Health Options (and many other health

insurers) for 45 consecutive months, the Government stopped paying part way through the 2017

Benefit Year. The Government had internally determined that the accounts from which it was

making CSR payments were not properly used for such payments, and no other appropriations to

support those payments had been made. Thus, the U.S. Department of Health and Human

Services (HHS) reasoned that it did not have a source of funds to make the payments.

       Before the Court, as its defense for its failure to pay, the Government now argues that it

was actually never obligated to make any of the CSR payments at all. It says that Section 1402

did not mandate such payments. The Government’s theory is wrong, and its failure to make CSR

payments for October, November, and December of 2017 is in direct violation of Section 1402

of the ACA.

       In its response and cross-motion to dismiss (Govt. Br.), the Government makes a series of

assertions in support of its position. The Government first equates the existence of a statutory

payment obligation with the separate question of how and from what accounts or appropriations

that obligation is to be paid. The Government argues, in essence, that Congress’s failure to

appropriate funds for Section 1402 obligations means that there is no obligation to make
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 7 of 29



payment in the first instance. The Government’s argument is flatly inconsistent with decades of

precedent, recently and decisively reaffirmed by the Federal Circuit.

        The Federal Circuit has put it clearly: “[I]t has long been the law that the government

may incur a debt independent of an appropriation to satisfy that debt.” Moda Health Plan, Inc. v.

United States, 892 F.3d 1311, 1321 (Fed. Cir. 2018). A clear statutory direction to pay

establishes the existence of the obligation. The failure to appropriate funds to an agency to make

payments limits the ability of agency officials to make the payment, but it does not extinguish

the obligation itself―which remains enforceable in this Court under the Tucker Act, giving rise

to judgments payable from the Judgment Fund. Section 1402 sets forth precisely such a clearly

stated obligation to pay.

        Even more recently, in response to identical Government arguments about the CSR

program to those raised here, this Court (per Judge Kaplan) held that “the statutory language [of

Section 1402] clearly and unambiguously imposes an obligation on the Secretary of HHS to

make payments to health insurers that have implemented cost-sharing reductions on their

covered plans as required by the ACA,” and stated that “the government was statutorily

obligated to provide . . . cost-sharing reduction payments for the remaining months of 2017,”

because “[t]hat obligation was not vitiated by Congress’s failure to appropriate funds for that

purpose.” Montana Health Co-Op v. United States, No. 18-143C, 2018 WL 4203938, at *5, *8

(Fed. Cl. Sept. 4, 2018).1



1
  Montana Health remains open for a final judgment awaiting the parties’ agreement on
quantum. An additional CSR proceeding, raising the same merits issues presented here, Sanford
Health Plan v. United States, No. 18-136, had been pending before Senior Judge Firestone.
Following issuance of Judge Kaplan’s opinion in Montana Health, Judge Firestone sua sponte
transferred Sanford Health to Judge Kaplan. On or before October 4, the parties are to file a
joint status report in Sanford Health.



                                                 2
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 8 of 29



       The Government’s theory that Congress never intended for CSR payments to be made

simply won’t hold water. To begin with, the statutory text is the best indicator of congressional

intent and here the text is clear and unambiguous: Congress said, in Section 1402, that the

Government “shall make” CSR payments. 42 U.S.C. § 18071. Under Moda, and many decades

of precedent from this Court, this Court’s predecessor court, and the Federal Circuit, that

language means what it says. See Montana Health, 2018 WL 4203938 at *5.

       The Government purports to invoke Moda in support of its contention that the lack of an

appropriation signals an intent not to create a substantive obligation. That is flatly wrong.

Nothing can be inferred from the mere lack of an appropriation. Rather, the statutory language

controls. See Moda, 892 F.3d at 1320; accord Montana Health, 2018 WL 4203938 at *5-*6. As

the Federal Circuit held in construing language nearly identical to Section 1402 as creating an

obligation, Congress’s silence on the appropriation with which to fund that obligation does not

negate it. What the Government is citing in Moda is the portion of the Federal Circuit’s opinion

where it construed appropriations riders enacted years after the statutory obligation and, by

statutory language, directly targeted the source of funds for that obligation. The Federal Circuit

construed that subsequent enactment (not the mere failure to appropriate) as negating and

suspending that obligation. That portion of Moda is inapposite here because there have been no

subsequent statutory enactments on CSR payments, and thus there is no subsequent legislation to

construe.

       The Government also contends that Congress’s intent that Section 1402 not obligate the

United States can be gleaned from the fact that it funded the tax credits created by Section 1401

by adding them to a longstanding permanent appropriation for tax credits. But precisely because,

as Moda instructs, how Congress chooses to fund an obligation is distinct from whether it has




                                                 3
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 9 of 29



created an obligation in the first place, Congress’s choice to fund a new tax credit in the same

manner it has long funded other tax credits has no bearing on whether it intended Section 1402 to

create an obligation.

       The Government’s argument that insurers like Health Options could increase their

premiums to somehow offset the Government’s failure to make CSR payments misses the mark.

There is no reason to believe that the rate setting process, under state regulatory control, in any

way negates the statutory obligation to make CSR payments. They are separate matters.

Moreover, the Government’s argument reflects a fundamental misunderstanding of how

insurance works. Separate and apart from the lack of any statutory language supporting the

Government’s theory, by the time the Government decided to withhold CSR payments in

October 2017, Health Options and other insurers had no recourse to summarily raise rates during

the last quarter of the year in an attempt to make up the difference. Indeed, when the

Government made its announcement, premium invoices for October were a month old and

November invoices were on their way out to subscribers. Furthermore, Health Options and other

insurers had already committed to participate in the marketplaces for 2018 under rates that had

already been set and that were subject to regulatory approval without any anticipation that the

Government would stop its payment of CSR obligations. Even if taking such steps to make up

for a possible loss of revenue could properly be considered a recoupment, it was simply not

possible for Health Options to have “recouped” its losses for the periods at issue here. The

Government certainly does not suggest the contrary.

       The Government’s last attack on Health Options’ statutory claim is that it is not enough

for Health Options to show that it has a claim to payment under a money-mandating statute,

because Health Options must also show that the statute specifically creates a distinct cause of




                                                  4
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 10 of 29



action to recover what is owed. But this position is contradicted by the well-established rule that

“the determination that the source is money-mandating shall be determinative both as to the

question of the court's jurisdiction and thereafter as to the question of whether, on the merits,

plaintiff has a money-mandating source on which to base his cause of action.” Fisher v. United

States, 402 F.3d 1167, 1173 (Fed. Cir. 2005) (en banc in relevant part); see also United States v.

White Mountain Apache Tribe, 537 U.S. 465, 477 (2003) (“To the extent that the Government

would demand an explicit provision for money damages to support every claim that might be

brought under the Tucker Act, it would substitute a plain and explicit statement standard for the

less demanding requirement of fair inference that the law was meant to provide a damages

remedy for breach of a duty.” (emphasis added)); accord Montana Health, 2018 WL 4203938 at

*4 n.5. No separate damages provision is required for Health Options to bring suit.

       The Government’s challenge to Health Options’ claim based on an implied-in-fact

contract similarly misconstrues binding precedent. Indeed, the Government utterly ignores the

promissory nature of the CSR program―and the Government’s conduct in fulfilling its promise

for 45 consecutive months. The Government also feebly contends that the QHPIAs, which

evidence the existence of an implied-in-fact contract between Health Options and the

Government, somehow rose to the level of the “express contracts” precluding any finding of an

implied-in-fact contract. The Government’s position cannot be squared with controlling law.

Rather, the QHPIAs, together with statutes, regulations, and the Government’s conduct, establish

an implied-in-fact contract to make CSR payments, which the Government breached.

       As set forth in Health Options’ complaint, motion, and below, Health Options is entitled

to summary judgment on its claims for CSR payments for benefit year 2017. It follows, then,

that the Government’s motion to dismiss must also be denied because, on the uncontroverted




                                                  5
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 11 of 29



facts asserted, Health Options has stated a colorable claim for relief that can be redressed by a

favorable decision from this Court. See Prairie Cty., Mont. v. United States, 113 Fed. Cl. 194,

198 (2013) (quoting Indian Harbor Ins. Co. v. United States, 704 F.3d 949, 954 (Fed. Cir.

2013)). As a non-profit, member-led CO-OP created by the ACA to expand the availability of

health insurance to the people of Maine, Health Options is particularly disadvantaged by the

Government’s failure to make the statutorily required payments. Health Options is entitled to

payment of $5,651,672.49 in CSR payments for benefit year 2017.

I.     THE EXISTENCE OF A STATUTORY PAYMENT OBLIGATION UNDER
       SECTION 1402 IS A SEPARATE QUESTION FROM THE QUESTION OF
       WHETHER AN APPROPRIATION HAS BEEN MADE.

       Section 1402 of the Affordable Care Act (ACA) requires health insurance issuers like

Health Options to make cost-sharing reductions to their insureds. 42 U.S.C. § 18071(a)(2)

(issuers “shall reduce the cost-sharing” under the applicable plan). It also mandates that the

Government make payments to health insurance issuers for these cost-sharing reductions. The

statute is unambiguous:

               An issuer of a qualified health plan making reductions under this
               subsection shall notify the Secretary of such reductions and the
               Secretary shall make periodic and timely payments to the issuer
               equal to the value of the reductions.

42 U.S.C. § 18071(c)(3)(A) (emphasis added).

       For 45 consecutive months, from January 2014 until October 2017, HHS duly “ma[d]e

periodic and timely payments” to issuers, including to Health Options, “equal to the value of the

reductions” that Health Options provided to its insureds. In October 2017, the Attorney General

opined that the general agency funds from which the agency had been making payments for

nearly four years was not a proper source of funds for these purposes. HHS acquiesced and cut

off funds to make the required payments. HHS thus stopped making CSR payments for the



                                                 6
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 12 of 29



remainder of the 2017 benefit year. Health Options brought this action to obtain the payments

required by the statute for the plans that it had already issued and sold for 2017.

       The Government argues that this is not simply a case of the Government refusing to pay

what it concededly owed. Instead, the Government asserts that notwithstanding the statutory

directive that the Government “shall make” these payments, it has no statutory obligation to pay

because the statute did not contain additional language identifying an appropriation from which

to pay, supposedly reflecting a lack of “congressional intent” to obligate the United States in the

first instance. The Government’s arguments conflate the existence of the statutory obligation

with the entirely separate question of whether Congress has appropriated money to pay the

obligation.

       The Government’s position runs up against more than a century of precedent establishing

that the absence of an appropriation does not negate the Government’s underlying obligation to

make payment. See United States v. Langston, 118 U.S. 389 (1886); Collins v. United States, 15

Ct. Cl. 22, 35 (1879). As explained in Ferris v. United States, 27 Ct. Cl. 542, 546 (1892):

               An appropriation per se merely imposes limitations upon the
               Government’s own agents; it is a definite amount of money
               intrusted to them for distribution; but its insufficiency does not pay
               the Government’s debts, nor cancel its obligations, nor defeat the
               rights of other parties.

The Government’s arguments are, therefore, untenable, particularly in light of Moda. In Moda,

the Federal Circuit addressed another provision of the ACA that uses nearly identical mandatory

payment language. And consistent with historic precedent, the Federal Circuit panel

unanimously rejected arguments substantially identical to those that the Government makes here.

       The first question posed in Moda was whether Section 1342 of the ACA obligated the

Government to make certain payments, irrespective of whether Congress appropriated funds for

the purpose. The Federal Circuit said “yes,” holding that the statutory requirement that “the


                                                  7
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 13 of 29



Secretary shall pay to the plan an amount equal to 50 percent of the target amount in excess of

103 percent of the target amount” created an obligation to pay. Moda, 892 F.3d at 1332

(emphasis added). The court held that the “shall pay” language of Section 1342 was

“unambiguously mandatory” and imposed a legal obligation on the United States. Id. at 1320.

In so holding, the court reaffirmed the longstanding rule that the question of whether Congress

has appropriated funds enabling the Government’s agents (here, HHS) to pay an obligation is a

question entirely distinct from Congress’s creation of a statutory obligation in the first place. Id.

at 1321 (“it has long been the law that the government may incur a debt independent of an

appropriation to satisfy that debt”); id. at 1322.

       The Federal Circuit observed that there was no precedent supporting the Government’s

contrary position that the absence of an obligation can be inferred from the lack of appropriations

or budgetary authority. Id. at 1322 (“The government cites no authority for its contention that a

statutory obligation cannot exist absent budget authority.”). Such a “rule would be inconsistent

with Langston, where the obligation existed independent of any budget authority and

independent of a sufficient appropriation to meet the obligation.” Id.

       Indeed, in Moda, the Government argued a variety of theories under which it asked the

court to conclude that the failure to establish an appropriation would negate the existence of the

obligation created by the plain language of the statute. But in light of the plain language, the

Federal Circuit found all of those theories of “no moment” or “immaterial.” Id. The “plain

language of section 1342 created an obligation of the government to pay participants in the

health benefit exchanges the full amount indicated by the statutory formula for payments out

under the risk corridors program.” Id.




                                                     8
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 14 of 29



       The basic problem with the Government’s argument on CSR is that whether one frames

the question in terms of what the statute directs, or in terms of congressional intent, the first

place to look for the meaning of the statute—and if the statute is unambiguous, the only place to

look—is the words of the statute itself. See Ransom v. FIA Card Servs., N.A., 562 U.S. 61, 69

(2011); Lamie v. United States Tr., 540 U.S. 526, 534 (2004). The “shall make” directive of

Section 1402 imposes an unambiguously mandatory payment obligation on the United States.

See 42 U.S.C. § 18071; accord Moda, 892 F.3d at 1320 (the “shall pay” directive of Section

1342 was “unambiguously mandatory”); Montana Health, 2018 WL 4203938 at *5 (same).

There is no material distinction between the words used by Congress in Section 1342 (at issue in

Moda) and Section 1402 (at issue here). The “shall make” language of Section 1402 is as

mandatory as the “shall pay” language of Section 1342. Both create an unmistakable obligation

to pay. And, as in Moda, the fact that Congress did not appropriate funds is insufficient to render

that obligation ambiguous, or to undermine it in any way.

       As explained in Health Options’ motion and recently recognized in Montana Health,

these same principles control the inquiry under the CSR program. Applying the reasoning of the

Federal Circuit in Moda to a CSR claim brought by Plaintiff Montana Health, the Montana

Health court granted summary judgment to plaintiff as to liability and denied the government’s

motion to dismiss. At the outset, the court reasoned that the statutory obligation to make CSR

payments is clearly established by the “shall make” language of the statute, and no negative

inference can be drawn from the failure to appropriate funds or establish budgetary authority.

Montana Health, 2018 WL 4203938 at *5. Section 1402 plainly created an obligation to pay,

and while a lack of appropriation may constrain the “government’s own agents” (HHS) from




                                                  9
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 15 of 29



making payments, the underlying statutory payment obligation—and the United States’

obligation to make payment—is unaffected. See id. at 8 (quoting Moda, 892 F.3d at 1321).

II.    THE GOVERNMENT OFFERS NO VIABLE BASIS TO DISREGARD THE
       PLAIN LANGUAGE OF SECTION 1402, CREATING AN OBLIGATION,
       BASED ON CONGRESS’S MERE LACK OF APPROPRIATED FUNDS.

       A.      Congress Did Not Pass Any CSR Appropriation Riders, so the Government’s
               Reliance on Moda’s Discussion of Appropriation Riders and Legislative
               “Intent” Is Misplaced.

       The Government proposes that this Court ignore the first part of Moda, which held that

equivalent language in Section 1342 of the ACA unambiguously created a payment obligation,

and asks this Court to focus on the portion of Moda that addressed subsequent legislation in the

form of appropriations riders, and the legislative history concerning those riders. In that second

part of Moda, the Federal Circuit emphasized the importance of congressional intent in

interpreting later appropriation riders that took direct aim at the substantive obligation it agreed

was created by Section 1342. The Federal Circuit determined that those riders had temporarily

suspended the obligation.2 The reference to that portion of Moda is misplaced, however,

because, unlike the provision at issue in Moda, Section 1402 was never the focus of a subsequent

appropriation rider.

       Moda examined congressional “intent” in a very different context, with very different

evidence of legislative intent before it, to determine whether the “shall pay” obligation stated on

the face of Section 1342 of the ACA was overridden by subsequent enactments. The Federal

Circuit sought to determine whether those subsequent enactments revealed Congress’s “intent”

to limit the amount paid out in the risk corridors program. Moda, 892 F.3d at 1322-23. In


2
  The portion of the Moda opinion addressing the effect of the appropriation riders is now the
subject of various petitions for rehearing en banc, raising many of the points that Judge Newman
made in her dissent from that portion of the decision. 892 F.3d at 1332-37.



                                                 10
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 16 of 29



examining those subsequent appropriation riders, the Federal Circuit noted a line of cases in

which courts examined subsequent enactments, and specific legislative history concerning those

enactments, to determine whether they abrogated existing statutory obligations. In particular, the

Federal Circuit examined the legislative history of those riders, including questions asked by

Congress, GAO responses, and a statement by the Chairman of the House Appropriations

Committee. Id. at 1325.

       No similar argument can be made here because: (i) there is no subsequent legislation to

construe; and (ii) the Government has proffered no legislative history at all to support its

position. Section 1402 means exactly what it says when it says that the Secretary “shall make

periodic and timely payments to the issuer equal to the value of the reductions.” That obligation

stands regardless of whether Congress has made appropriations to allow the agency to fulfill that

obligation, and the Government has offered no reasonable basis on which the Court should

disregard the clear statutory language at issue.

       B.      The Government’s Various Theories for Equating the Absence of an
               Appropriation With the Absence of a Payment Obligation Are Without
               Merit.

       The Government tries to show that notwithstanding the plain language of Section 1402,

Congress impliedly did not intend it to create a payment obligation under Section 1402. As set

forth below, those arguments do not lead logically to the conclusion that the Government seeks,

namely that the plain language of the statute should be disregarded in favor of the Government’s

self-serving conception of congressional intent. And all of those arguments ultimately rest on

the premise, rejected in Moda and Montana Health, that the absence of an appropriation can be

equated with the absence of an obligation, when the statute in question unambiguously creates

an obligation. Moda, 892 F.3d at 1320-22; Montana Health, 2018 WL 4203938 at *5.




                                                   11
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 17 of 29



               1.      The comparison between Sections 1401 and 1402 does not address the
                       issues here.

        The Government first highlights differences between Sections 1401 and 1402, noting that

in Section 1401, Congress identified a source of permanent funding for the tax credit created by

that provision, but in Section 1402, Congress did not identify a permanent source of funding.

The different treatment reveals only an intent of Congress to fund different obligations

differently.

        First, the fact that Section 1401 identifies a source of funding for the tax credit is wholly

unsurprising. Because it was a tax credit, appearing in a health care law, it should surprise no

one that Congress funded the credit through the same longstanding appropriation used to fund

tax credits of all sorts.3 But it is equally unsurprising that for the Section 1402 CSR payments

Congress created an obligation yet left the funding of that obligation to future general

appropriations to the agency or to specific periodic appropriations to come later. Indeed, as the

Montana Health court reasoned, “the lack of a permanent funding mechanism suggests that when

it enacted the ACA, Congress anticipated that the CSR payments it obligated the government to

pay in § 1402 would ultimately be funded through the annual appropriations process.” Montana

Health, 2018 WL 4203938 at *7. That is the point of Moda and the long line of cases it follows:

how Congress funds an obligation is distinct from the existence of the obligation itself. Moda,

892 F.3d at 1320-22.


3
  Section 1401(a) enacted the tax credit provision, codifying it in the Tax Code at 26 U.S.C. §
36B. A different subsection, Section 1401(d), enacted the permanent appropriation for that tax
credit, by amending 31 U.S.C. § 1324(b), part of the U.S. Code title that deals with
appropriations and other budgetary matters. The cost-sharing reduction requirement of Section
1402, for its part, is codified at 42 U.S.C. § 18071, a title that deals broadly with public health
and welfare. Section 1402, as the Government acknowledges, does not concern a tax credit, so
there would be no reason for Congress to fund reimbursement payments for cost-sharing
reductions as it has funded tax credits for many years, Section 1401 just being the latest.



                                                  12
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 18 of 29



       Second, and more important, all that the comparison between Section 1401 and Section

1402 shows is that under one of the sections, Congress did designate an appropriation, and under

the other, it did not. The difference in language between the sections means no more than what

the two provisions say: for Section 1401, Congress established a specific funding mechanism,

but for Section 1402, it did not do so.

       The Government also asserts that the Court should not “infer that Congress intended to

create a statutory entitlement to CSR payments that could only be collected through after-the-fact

litigation.” Govt. Br. at 18. But the Government’s premise is flawed. The fact that Congress

did not designate an appropriation in 1402 did not mean that an appropriation would not be

provided later, as needed, or found in some other appropriation properly available to the agency.

Nor is it logical to believe that Congress created this clear statutory obligation, induced insurers

to rely on it, but never intended to make good on it at all. The fact that the Government made

CSR payments for nearly four years illustrates the fallacy of the Government’s current litigating

position. In any event, the Federal Circuit in Moda reiterated that the absence of an

appropriation mechanism does not relieve the Government of the obligation to make payment.

892 F.3d at 1322.

       This Court is positioned to enter judgment based on the existence of a clearly stated

statutory obligation; how the obligation is to be paid is ordinarily not the responsibility of the

Court. “Whether it is to be paid out of one appropriation or out of another; whether Congress

appropriate[ed] an insufficient amount, or a sufficient amount, or nothing at all, are questions

which are vital for the accounting officers, but which do not enter into the consideration of a case

in the courts.” Gibney v. United States, 114 Ct. Cl. 38, 52 (1949).




                                                 13
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 19 of 29



               2.      The Government’s “increasing premiums” theory is erroneous.

       The Government asserts that since “the structure of the ACA” “allow[s] issuers to recoup

their cost-sharing reduction expenses by raising premiums”—at least on a prospective basis—

this somehow undermines Section 1402’s payment obligation. Govt. Br. at 3. For support, the

Government cites the fact that a federal district court denied a request for a preliminary

injunction directing HHS to resume Section 1402 payments on grounds that states could

prospectively authorize insurers to increase premiums for 2018. Id. at 20. In other words, that

district court held that the possibility that insurers could increase premiums to offset a

prospective loss of CSR payments, and increase their tax credit recovery, affected the equitable

balance whether to grant an injunction.

       The decisive point here in response to the Government’s structural argument is that there

is no indication that Congress ever actually conceived, considered, or “intended” such a possible

mechanism to offset prospective losses through premium increases approved by the States, and

tax credits when it enacted Section 1402. And the possibility that a cut-off of CSR payments

will be reflected in state-approved premiums is far too thin a reed on which to rest a conclusion

that in directing that the Secretary “shall make payments,” Congress did not intend what it

plainly said. Premium setting and approval is assigned to the States, and thus largely outside the

scope of the ACA, and there is no indication that it had any role in the design of Section 1402.

See Montana Health, 2018 WL 4203938 at *7 (rejecting Government’s argument because

“[t]here is no evidence in either the language of the ACA or its legislative history that Congress

intended that the statutory obligation to make CSR payments should or would be subject to an

offset based on an insurer’s premium rates.”). The Government’s contention that a contrary

position means issuers could somehow double recover, Govt. Br. at 3, 20, is a red herring in light

of both the statutory language and regulatory reality.


                                                 14
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 20 of 29



       The recovery sought in this case is solely for the Section 1402 payments that the

Government failed to make for the final calendar-year quarter of 2017. Health Options was not

paid what it was owed when the Government ceased making Section 1402 payments in October

2017. The Government’s decision to halt payment occurred long after Health Options had

committed to provide insurance, under rates that were set, on the understanding that the CSR

payments would be made, and which could not be altered. Health Options was still required by

law to provide cost-sharing reductions to eligible insureds, despite not receiving the mandated

reimbursement from the Government. Health Options has no opportunity to recoup those lost

payments since premiums are set (with regulatory approval) prospectively based on anticipated

costs for the upcoming plan year. Montana Health, 2018 WL 4203938 at *7. The Government

does not contest that Health Options’ 2017 rates could not be changed when the Government

stopped making CSR payments in October 2017, or that Health Options was forced to bear its

share of cost-sharing reductions and the Government’s share.

       C.      Recovery of Amounts Due From the Government’s Failure to Make CSR
               Payments Are Actionable in the Court of Federal Claims.

       The Government argues that jurisdiction is different from a cause of action and that if

Congress did not provide a “damages remedy” for insurers in Section 1402, the case cannot

proceed.4 Govt. Br. at 17-22. In so arguing, the Government effectively asks this Court to

ignore the bedrock rule that where the claim to relief arises from a money-mandating statute, that

money-mandating statute provides both the basis for jurisdiction and the cause of action.

               If the court’s conclusion is that the Constitutional provision,
               statute, or regulation meets the money-mandating test, the court
4
  Indeed, if that were true, the Moda decision would make no sense. The Federal Circuit there
could simply have stated that although there was a money-mandating statute creating an
obligation, there was no additional statutory provision creating a cause of action, and stopped at
that.



                                                15
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 21 of 29



                shall declare that it has jurisdiction over the cause, and shall then
                proceed with the case in the normal course. For purposes of the
                case before the trial court, the determination that the source is
                money-mandating shall be determinative both as to the question of
                the court’s jurisdiction and thereafter as to the question of whether,
                on the merits, plaintiff has a money-mandating source on which to
                base his cause of action.

Fisher, 402 F.3d at 1173 (en banc in relevant part); see also White Mountain, 537 U.S. at 477

(rejecting the requirement for an explicit provision providing for money damages under the

Tucker Act and holding that a fair inference that the law was meant to provide a damages

remedy is all that is required); Greenlee Cty., Ariz. v. United States, 487 F.3d 871, 877 (Fed. Cir.

2007); Lummi Tribe of the Lummi Reservation v. United States, 99 Fed. Cl. 584, 594 (2011);

Wolfchild v. United States, 96 Fed. Cl. 302, 339 (2010), rev’d in part 731 F.3d 1280 (Fed. Cir.

2013); accord Montana Health, 2018 WL 4203938 at *4 n.5 (“Plaintiffs have never been

required to make some separate showing that the money-mandating statute that establishes this

court’s jurisdiction over their monetary claims also grants them an express (or implied) cause of

action for damages.”). Indeed, the very reason for this Court’s Tucker Act jurisdiction is to

provide a means of recovery where a statute creates a right to compensation and the Government

has not paid.

       The Government’s position is fundamentally inconsistent with the basic structure of this

Court’s jurisdiction. The Tucker Act, 28 U.S.C. 1491(a)(1), waives sovereign immunity for

claims predicated on the Constitution, federal statutes and regulations, and contracts with the

Government. Where this Court has before it a money-mandating statute, and the claimant seeks

payment for damages incurred, that mandate is what gives the plaintiff a right to relief in this

Court, if it prevails on its claim. It is the claim for damages under a money-mandating statute

that provides the right to recovery. There is no need for an additional “express cause of action




                                                 16
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 22 of 29



for damages.” Govt. Br. at 19. Rather, the right to relief is implied from the money-mandating

statute, and the claim for damages actually incurred.

       Thus, even before Fisher, in Greenlee County, for example, the court held that identical

language—the “the Secretary of the Interior shall make a payment” to local governments to

compensate them for losses due to the presence of tax-exempt federal land—was money-

mandating. 487 F.3d at 876-77 (emphasis added). “We have repeatedly recognized that the use

of the word ‘shall’ generally makes a statute money-mandating.” Id. at 876-77 (citing Agwiak v.

United States, 347 F.3d 1375, 1380 (Fed. Cir. 2003)). And since a money-mandating statute

“creates the right to money damages,” id. at 875; see also Jan’s Helicopter Serv., Inc. v. F.A.A.,

525 F.3d 1299, 1307 (Fed. Cir. 2008) (recognizing the right of a “class of plaintiffs entitled to

recover under the money-mandating source”), Health Options is entitled to pursue its right to

recover what it is owed under the money mandating provisions of Section 1402.

       The Government’s argument is actually belied by its own citation to Bowen v.

Massachusetts, 487 U.S. 879, 905 n.42 (1988). There, the Court recognized that “shall” pay

statutes generally provide a “self-enforcing” right to recover under the Tucker Act where they

“mandate[] compensation by the Federal Government for the damage sustained.” Id. (citing

Eastport S. S. Corp. v. United States, 372 F.2d 1002, 1009 (1967) (cited with approval in United

States v. Testan, 424 U.S. 392, 398, 400 (1976)). That is the case here. The money-mandating

statute provides reimbursement for the cost-saving reductions that Health Options was statutorily

required to grant to insureds, and which it did grant to its insureds. It thus provides

compensation for a past act, which is the “essence of a Tucker Act claim for monetary relief.”




                                                 17
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 23 of 29



Id. (citing United States v. Mottaz, 476 U.S. 834, 850-851 (1986) (suit to require the government

to purchase property is not a form of compensation for past acts)).5

       Indeed, the Department of Justice itself acknowledged the application of this principle to

the CSR program in Burwell, when it noted the right and ability of insurers to do exactly what

Health Options is doing here. In Burwell, the Government acknowledged that the ACA “requires

the government to pay cost-sharing reductions to issuers,” and explained to the district court that

“[t]he absence of an appropriation would not prevent the insurers from seeking to enforce that

statutory right through litigation.” Defs.’ Mem. ISO Mot. for Summ. J., House v. Burwell, Case

No. 1:14-cv-01967-RMC, Dkt. No. 55-1 (D.D.C. filed Dec. 2, 2015) at 20. The Government

further acknowledged that prevailing insurers “can receive the amount to which it is entitled

from the permanent appropriation Congress has made in the Judgment Fund . . . . The mere

absence of a more specific appropriation is not necessarily a defense to recovery from that

Fund.” Id.

III.   THE GOVERNMENT IS LIABLE FOR BREACH OF AN IMPLIED-IN-FACT
       CONTRACT.

       The Government’s contention that it has no implied-in-fact contract with Health Options

is also contrary to controlling precedent. Each Government argument reflects a



5
  The claim at issue in Bowen, in contrast, did not seek damages; it arose from an administrative
review procedure that was more appropriately subject to Administrative Procedure Act review in
the district court. See Bowen, 487 U.S. at 905 n.42. As the Federal Circuit subsequently
reasoned, “when the plaintiff’s claims, regardless of the form in which the complaint is drafted,
are understood to be seeking a monetary reward from the Government, then, for the reasons
explained, a straightforward analysis calls for determining whether the case falls within the
jurisdiction of the Court of Federal Claims. If that court can provide an adequate remedy—if a
money judgment will give the plaintiff essentially the remedy he seeks—then the proper forum
for resolution of the dispute is not a district court under the APA but the Court of Federal Claims
under the Tucker Act.” Suburban Mortg. Assoc., Inc. v. HUD, 480 F.3d 1116, 1126 (Fed. Cir.
2007). That is precisely the case here.



                                                18
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 24 of 29



misunderstanding or misapplication of longstanding precedent and improperly ignores the

Government’s own conduct.

       First, the Government’s position that the CSR program is simply a “benefits program”

cannot be squared with prevailing law or the operative facts, both of which establish that

statutory schemes that are promissory in nature―like the CSR program―give rise to

contractual obligations to make the requisite payments. As set forth in Health Options’ Motion

for Summary Judgment, the Government’s program is precisely the type of quid pro quo

arrangement found to constitute an implied-in-fact contract in Radium Mines, Inc. v. United

States, 153 F. Supp. 403 (Ct. Cl. 1957). There, the regulation at issue was designed to “induce”

certain conduct. Id.; Hanlin v. United States, 316 F.3d 1325, 1329 (Fed. Cir. 2003) (observing

that a statute or regulation could give rise to an implied-in-fact contract based on, among other

things, “words of promissory character in the statute or regulation that manifested an undertaking

or commitment rather than a mere instruction, prediction or intention”). Here, the Government

sought to induce participation in a brand new health insurance marketplace, the costs of which

insurers could not reliably predict, and Section 1402 required insurers to provide certain

reductions to purchasers, in exchange for receiving the promised payments.

       The Government’s complaint that the statutory language establishing the CSR program

does not “speak in terms of contract,” Govt. Br. at 22, misses the mark. Radium Mines was not

based on the regulation’s express reference to a possible contract. Rather, as this Court noted,

the “key” to Radium Mines “is that the regulations at issue were promissory in nature.” Baker v.

United States, 50 Fed. Cl. 483, 490 (2001). The CSR program was promissory in nature

because, among other things, it was specifically designed to induce participation in the

marketplaces by Health Options and other insurers. Pl. Br. at 17-24. If you do this, we will give




                                                19
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 25 of 29



you that; if you provide the desired policies and grant the statutorily-required reductions in cost

sharing, and make timely submissions, we will timely provide Section 1402 reimbursements.

The Government’s threadbare invocation of the general presumption against interpreting

statutory language as creating contractual rights is unavailing.

       Instead of addressing the program’s promissory nature, the Government relies heavily on

Moda, while ignoring a key distinction between the Government’s conduct under the risk

corridors program and here with the Section 1402 CSR program. Not only did the Government

promise to make CSR payments in exchange for Health Options’ acceptance and performance of

certain specified duties, but also the Government in fact fulfilled its promise for 45 months.

The Government cannot escape its own course of conduct confirming the terms of the exchange

by the parties. It is, of course, a fundamental principle of contract law that “[w]here an

agreement involves repeated occasions for performance by either party with knowledge of the

nature of the performance and opportunity for objection to it by the other, any course of

performance accepted or acquiesced in without objection is given great weight in the

interpretation of the agreement.” Metro. Area Transit, Inc. v. Nicholson, 463 F.3d 1256, 1260

(Fed. Cir. 2006) (emphasis in original) (quoting Restatement (Second) of Contracts § 202(4)).

Regardless of the Government’s current litigating position, it appears to have agreed with Health

Options that it had made a promise and, until recently, kept that promise to pay.6

       Second, the Government’s argument that the QHPIA agreements were “express”

contracts that preclude any finding of a bilateral implied-in-fact contract is equally misguided.
6
  The Government’s argument that HHS lacked contracting authority ignores the fact that, as set
forth in Health Options’ Motion, actual authority can be express or implied. Pl. Br. at 20-21.
For the reasons set forth therein, the Secretary had both express and implied authority to enter
into contracts. The Government confuses “actual authority” of the HHS Secretary (to enter
contracts) with whether entering into QHPIA contracts was potentially unauthorized under the
Anti-deficiency Act; “actual authority” exists as a function of position, 48 C.F.R. § 1.601(a).



                                                 20
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 26 of 29



The Government posits that the QHPIA agreements were “express” contracts because they

“established the relevant contractual parameters of plaintiff’s offering of QHPs on an Exchange.”

Govt. Br. at 25.

       But the Government’s premise is flawed, and the argument collapses, because the QHPIA

agreements were not express contracts of the kind that would preclude a finding of implied

contract that goes far beyond the terms of whatever was in the QHPIA. The QHPIA agreement:

(1) memorializes that the insurer is properly licensed and certified to sell health plans on the

Exchange, and (2) sets forth standard rules for insurers to maintain data security and private

patient information. QHPIAs do not contain any essential contract terms regarding payment,

delivery, quantity, or performance. While they purport to be agreements, they do not contain any

indicia of the Government’s reciprocal obligations or consideration. Nothing within the four-

corners of the QHPIA purports to be a “contract” with the U.S. Government. As the

Government acknowledged, the QHPIAs contained some of “the relevant contractual parameters

of plaintiff’s offering of QHPs on an Exchange,” Govt. Br. at 25, but what the Government

overlooks is that those nebulous “parameters” do not contain the essential terms of an express

contract. Mere agreements or MOUs with the Government may evidence implied-in-fact

contracts, but they are not “express” contracts. See, e.g., Cal. Fed. Bank, FSB v. United States,

245 F.3d 1342, 1346-47 (Fed. Cir. 2001) (although forbearance letters do not constitute an

express contract with the government, they constitute contemporaneous document evidencing the

necessary elements of an implied-in-fact contract). Moreover, in Molina Healthcare, the Court

of Federal Claims specifically examined whether QHPIA agreements were “express contracts”

and held that they were not. Molina Healthcare of Cal., Inc. v. United States, 133 Fed. Cl. 14, 46

(2017) (holding instead that there was an implied-in-fact contract).




                                                 21
        Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 27 of 29



       Rather, as explained by Health Options, the full gamut of essential terms constituting the

parties’ implied-in-fact contractual bargain were specified and set forth in various statutory and

regulatory provisions that preceded the QHPIA and, collectively, formed the parties’ implied-in-

fact contract. Specifically, the QHPIAs contain some of the insurers’ compliance obligations (a

portion of the quid) that the insurers complied with in exchange for the statutory payment terms

set forth elsewhere (the quo). While the QHPIA agreements were not express contracts, they

were components of the parties’ implied-in-fact unilateral or, alternatively, bilateral, contract.

       As such, the Government’s assertion that Health Options’ implied contract with the

Government is “precluded” by the QHPIAs is untenable. In each cited case the plaintiffs had

already signed express contracts (and were simply trying to evade those plain terms by alleging

implied side-agreements). See, e.g., Durant v. United States, 16 Cl. Ct. 447, 451-52 (1988)

(because an “express contract, Form ASCS–477, existed between the parties,” plaintiffs could

not allege overlapping implied contract (emphases added)); Schism v. United States, 316 F.3d

1259, 1278 (Fed. Cir. 2002) (en banc) (because plaintiffs had already “agreed in an express,

written contract to be bound[,]” their allegations of implied agreements was “foreclosed”

(emphasis added)). Those cases have no relationship to the situation where the parties had never

signed “express” contracts setting forth the basic terms of the quid pro quo.




                                                 22
       Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 28 of 29



                                        CONCLUSION

       For the reasons stated, Health Options is entitled to receive, and the Government is

obligated to pay, $5,651,672.49 in CSR payments. The Government’s motion to dismiss should

therefore be denied, and the Court should grant summary judgment for Health Options.




Dated: October 4, 2018                              Respectfully submitted,

                                                    /s/ Stephen McBrady
                                                    Stephen McBrady
                                                    CROWELL & MORING LLP
                                                    1001 Pennsylvania Avenue, NW
                                                    Washington, DC 20004
OF COUNSEL:                                         Tel: (202) 624-2500
Daniel Wolff                                        Fax: (202) 628-5116
Skye Mathieson                                      SMcBrady@crowell.com
Monica Sterling
CROWELL & MORING LLP
1001 Pennsylvania Avenue, NW
Washington, DC 20004
Tel: (202) 624-2500

                                                    Counsel for Maine Community Health
                                                    Options




                                               23
       Case 1:17-cv-02057-MMS Document 14 Filed 10/04/18 Page 29 of 29



                                CERTIFICATE OF SERVICE

       I certify that on October 4, 2018, a copy of the forgoing reply in support of Plaintiff’s

motion for summary judgment and opposition to Defendant’s cross-motion to dismiss was filed

electronically using the Court’s Electronic Case Filing (ECF) system. I understand that notice of

this filing will be served on Defendant’s Counsel via the Court’s ECF system.

                                                     /s/ Stephen McBrady
                                                     Stephen McBrady
                                                     CROWELL & MORING LLP
                                                     1001 Pennsylvania Avenue, NW
                                                     Washington, DC 20004
                                                     Tel: (202) 624-2500
                                                     Fax: (202) 628-5116
                                                     SMcBrady@crowell.com
